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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                  ) Chapter 11
                                                        )
                                                        )
SIO2 MEDICAL PRODUCTS, INC. et al,1                     ) Case No. 23-10366 (JTD)
                                                        )
                                                        ) (Jointly Administered)
                                                        )
                                     Debtors.           )
                                                        )

          AMENDED NOTICE OF APPEARANCE AND REQUEST FOR NOTICES

          PLEASE TAKE NOTICE that the undersigned attorneys hereby enter their appearance for

A. Enterprises, LLC and Robert S. Abrams (together, “Abrams”) pursuant to section 1109(b) of

title 11 of the United States Code, 11 U.S.C. §§ 101 et seq., Rules 2002, 3017, 9007 and 9010(b)

of the Federal Rules of Bankruptcy Procedure, and Rule 2002-1(d) of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware, and request that copies of all pleadings, motions, notices and other papers filed or served

in this bankruptcy case, be served upon Abrams through their undersigned attorneys as follows:




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
    identification number, are: SiO2 Medical Products, Inc. (8467); Advanced Bioscience Labware,
    Inc. (1229); and Advanced Bioscience Consumables, Inc. (2510). The location of the Debtors’
    principal place of business and service address in these chapter 11 cases is 2250 Riley Street,
    Auburn, Alabama 36832.
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  Michael C. Whalen                                 David H. Botter
  Michael Jones                                     Luke A. Barefoot
  Angelika S. Glogowski                             Thomas S. Kessler
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       PLEASE TAKE FURTHER NOTICE, that the foregoing request includes, without

limitation, all orders, notices, applications, motions, petitions, pleadings, requests, complaints,

demands, replies, answers, schedules of assets and liabilities, statements of financial affairs,

operating reports, plans of reorganization, and disclosure statements, whether formal or informal,

and whether transmitted or conveyed by mail, hand delivery, telephone, telegraph, telex, facsimile,

or otherwise.

       PLEASE TAKE FURTHER NOTICE that neither this Amended Notice of Appearance and

Request for Notices nor any subsequent appearance, pleading, claim, or suit is intended or shall be

deemed or construed to constitute a waiver of any substantive or procedural right of Abrams

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including, without limitation, (i) the right to have final orders in non-core matters entered only

after de novo review by the United States District Court for the District of Delaware (the “District

Court”), (ii) the right to trial by jury in any proceeding related to these cases or any case,

controversy, or proceeding related to these cases, (iii) the right to have the District Court withdraw

the reference in any matter subject to mandatory or discretionary withdrawal, (iv) the right to have

any matter in which this Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution heard by the District Court, or (v) any

other rights, claims, actions, defenses, setoffs, or recoupments to which Abrams are or may be

entitled, in law or in equity, all of which rights, claims, actions, defenses, setoffs and recoupments

are expressly reserved.




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Dated: June 6, 2023                       Respectfully submitted,
Wilmington, Delaware
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                                          Abrams




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